                    CASE 0:24-cr-00133-JWB-DTS                      Doc. 85          Filed 04/03/25             Page 1 of 7
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

 UNITED STATES OF AMERICA                                                   §      JUDGMENT IN A CRIMINAL CASE
                                                                            §
 v.                                                                         §
                                                                            §      Case Number: 0:24-CR-00133-JWB-DTS(1)
 DESHAWN MARCHELLO MCKIZZIE                                                 §      USM Number: 10593-511
                                                                            §      Charles F Clippert
                                                                            §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s) 3
 ☐ pleaded nolo contendere to count(s) which was accepted by the court
 ☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                      Offense Ended       Count
 18:933(a)(1) TRAFFICKING FIREARMS                                                                        03/31/2024          3




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 1, 2 are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     March 26, 2025
                                                                     Date of Imposition of Judgment




                                                                     s/ Jerry W. Blackwell
                                                                     Signature of Judge

                                                                     JERRY W. BLACKWELL
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     April 3, 2025
                                                                     Date




                                                                      1
                    CASE 0:24-cr-00133-JWB-DTS                         Doc. 85        Filed 04/03/25    Page 2 of 7
AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    DESHAWN MARCHELLO MCKIZZIE
CASE NUMBER:                  0:24-CR-00133-JWB-DTS(1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

30 month(s) as to count 3.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
          Mr. McKizzie be housed at FCI Sandstone, FCI Greenville, or a Federal Correctional Institution near Minnesota so he can
          have contact with his family.

 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

           ☐ at                                          on

           ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ before                         on
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                        to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                       By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                         2
                    CASE 0:24-cr-00133-JWB-DTS                    Doc. 85       Filed 04/03/25          Page 3 of 7
AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    DESHAWN MARCHELLO MCKIZZIE
CASE NUMBER:                  0:24-CR-00133-JWB-DTS(1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : two (2) years.



                                                    MANDATORY CONDITIONS
   1.   You must not commit another federal, state or local crime.
   2.   You must not unlawfully possess a controlled substance.
   3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
        release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                    future substance abuse. (check if applicable)
   4.   ☐     You  must  make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
              sentence of restitution. (check if applicable)
   5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
   6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
              you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
   7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.




                                                                     3
                    CASE 0:24-cr-00133-JWB-DTS                    Doc. 85        Filed 04/03/25          Page 4 of 7
AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    DESHAWN MARCHELLO MCKIZZIE
CASE NUMBER:                  0:24-CR-00133-JWB-DTS(1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
    from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
    excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
    the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                     Date ______________________

Probation Officer's Signature ____________________________________________                   Date ______________________




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                    CASE 0:24-cr-00133-JWB-DTS                   Doc. 85        Filed 04/03/25         Page 5 of 7
AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    DESHAWN MARCHELLO MCKIZZIE
CASE NUMBER:                  0:24-CR-00133-JWB-DTS(1)

                                     SPECIAL CONDITIONS OF SUPERVISION

a.   The defendant shall complete an assessment and/or participate in a program for substance abuse as directed by the probation
     officer. That program may include testing and inpatient or outpatient treatment, counseling, or a support group. The defendant
     shall execute the requisite release of information forms necessary to facilitate treatment programming, and the defendant shall
     abide by all supplemental conditions of programming.

b.   The defendant shall submit to substance abuse testing as approved and directed by the probation officer.

c.   The defendant shall not knowingly communicate or otherwise interact [i.e., in person; through a third party; by telephone or mail,
     electronic or otherwise; or through social media websites and applications] with any known member or prospect of the Lows gang
     or any criminal street gang, as defined by 18 U.S.C. § 521, without first obtaining the permission of the probation officer.

d.   The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a search conducted by
     a United States Probation Officer or supervised designee, at a reasonable time and in a reasonable manner, based upon reasonable
     suspicion of contraband or evidence of a supervision violation. The defendant shall warn any other residents or third parties that
     the premises and areas under the defendant's control may be subject to searches pursuant to this condition.

e.   The defendant shall participate in a mental health evaluation. If treatment is recommended, the defendant shall participate in an
     approved treatment program and abide by all supplemental conditions of treatment to include medication as prescribed.
     Participation may include inpatient/outpatient treatment.

f.   The defendant shall be screened for and/or participate in Reentry Court programming and shall abide by all rules of the program.
     Screening and/or participation may include referrals for substance abuse assessment and/or treatment and testing, mental health
     assessment and/or treatment, cognitive behavioral programs, medication compliance, and any other programming deemed
     appropriate to enhance the successful reintegration of the defendant into the community.




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CASE 0:24-cr-00133-JWB-DTS   Doc. 85   Filed 04/03/25   Page 6 of 7
                    CASE 0:24-cr-00133-JWB-DTS                              Doc. 85      Filed 04/03/25              Page 7 of 7
AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    DESHAWN MARCHELLO MCKIZZIE
CASE NUMBER:                  0:24-CR-00133-JWB-DTS(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☐ Lump sum payments of $                                              due immediately, balance due

       ☐ not later than                                         , or

       ☐ in accordance                     ☐      C,          ☐        D,        ☐      E, or       ☐       F below; or

 B     ☐ Payment to begin immediately (may be combined with                      ☐      C,          ☐       D, or              ☐       F below); or

 C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                   over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F     ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 3, which
              shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                Joint and Several                   Corresponding Payee,
      (including defendant number)                        Total Amount                     Amount                             if appropriate



 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):

 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.

                                                                             7
